United States of

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FOR THE DlSTR|CT OF COLUMB|A

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PERSONAL PERSONAL RECOGNIZANCE. Your personal recognizance, provided that you promise to appear at all scheduled hearings, trials, or
PROM|SE otherwise as required by the Court.
UNSECURED APPEARANCE BOND. Your personal unsecured appearance bond, to be forfeited should you fail to appear as re-
[:| quired by the Court.
CASH BOND. Upon execution of appearance bond, to be forfeited should you fail to appear as required by the Court, secured by a
deposit, such deposit to be returned when the Court determines you have performed the conditions of your release. You will deposit in
oF ]:| the registry of the Court %.
m SURETY BOND. Upon execution of appearance bond with approved surety. F I L E l !
YOU ARE HEREBY RELEASED ON THE COND|T|ONS lNDlCATED BELCW: _l:!_-g .) g 2948
Y?]u hereby riggee to be placed iii thc‘eustudydo|`… ' ku b v "
w o agrees a , to supervise you in accor alice wit t e con itions e ow, . , '
SUPER' lbl. in use every effort to assure your appearance at all scheduled hearings. C|EFR?(U?S?WSU|M & EBIlKI’B|JICy
m 1) VlSoRY lria|s. or otherwise and (c), to notify the D.C. Pretrial Serviees Agency iiii- Clilltl'[S fur thih Dl':trir~t rif t‘nli_imb§a
CUSTODY mediater in l|ie event you violate any condition of release ni' disappear. Agency cusmdian.s address
telephone 442-1000 b
l SIGNATURE OF CUSTODIAN Cuh'tottinii')i phone no.
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®/ YOL_:_(§RE El/ Weekly |:| ' person |]/THE D.c. PRETRIAL sEvacEs AGENCY AT iriziTilon.
2) m til/im h 10 Ei -
REpoR-r m ty p One Your attorney, whose name and address is shown below.
|B/ at D,_.t)j¢_W aq-ID\> lLPSS
YOU ARE address phone no.
E/S) To Ei with
leE name and relationship to defendant phone no.
m at being in at night by P.M.
address phone no. lime
you ARE l:l by obtaining a job within days and reporting it to the D.C. Pretrial Services Agency at 442-1000.
[:] 4a) . . . .
b t b
10 WORK I:| y main ammg your 10 as Employer’s name and address
[:l by enrolling in school at
YOU ARE name and address
i:i 4b) TOSTUDY i:i by maintaining your student status at
name and address
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T$) YOU ARE [:] away from the complaining witness. ig/ W`i.!h€\kl,h¢ D\C- area-
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E/ A\ le_o.;-.~ew_~;- o s._ wo-r§_nv~u.i-.tc, ,. _ ¢e.'~m{- o.¢-
8) REARREST w "'"" Aliiy rearrest on probable cause l"iir im subsequent of|'ensi: may result in revoi§it§)y]nur ]?rf‘-senl bond and setting it at
You are instructed that any violation of a condition of release may result in revocation of release, pretrial detention or contempt. If you willfully fail to appear as
required, you will be subject to prosecution and if convicted, the maximum penalties are indicated on the reverse side. Furthermore, your release is subject to the
terms and conditions contained on the reverse side which are incorporated in and made a part of this order, which by your signature below you certify you have
read and understand "l / 0
NEXT in courtroom '?_~. at to;,lc§?(m :l l?> l w c ‘z> Youn A'rroRNEY w t(¢l» t\i(W J ~ :£E'¢LOAMT/
DUE . . _
or when notified and you must appeal" ‘ | subsequent continued dates. ...
BACK You must also appear l'“_{ ]w 1 C/ q/lz ‘.i_:f-q“azlm
adclrcss' ‘ phone no.
DEFENDANT’S l understand the penalties which may be imposed on me for willful failure to appear
_ _/IQ or for violation of any condition of release and agree to comply with the conditions
HQMBE of my release and to appear as required.

wiTNEssED BY AZ’? ratio and agonoy) 957 /\'

YOU ARE TO N()TIFY IMMEDIATELY THE D.C. PRETRIAL SERVICES AGENCY, 500 I`ND|ANA AVE.. N.W.. FIRST FLOOR, 'I`ELE-
IMPORTANT! PHONE NUMBER 442-|000, OF ANY CHANGE OF ADDRESS, EMPLOYMENT, OR CHANGE IN STATUS OF ANY RE.LEASE

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Signature of`J"udge

 

 

 

 

BLUE-TO JUD

GREEN -TO D.C. PRETR|AL SEFlV|C
CANARY -TO DEFENSE ATTOFlNE
P|NK -TO U.S. A`l`|'OFlNEY
GOLDENHOD -TO DEFENDANT

 

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